      Case 2:07-cr-20018-JWL       Document 427     Filed 10/16/15    Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                          Case No. 07-20018-07-JWL


Aaron Jackson,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is presently before the court on Aaron Jackson’s pro se motion for

appointment of counsel (doc. 426) for the purpose of filing a motion for sentence reduction

under Amendment 782. Because Mr. Jackson is presently represented by the Federal Public

Defender’s office for the purpose of assessing Mr. Jackson’s eligibility for relief under

Amendment 782, and because Mr. Jackson does not indicate any dissatisfaction with that

representation, the motion is denied as moot.



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Jackson’s motion for

appointment of counsel (doc. 426) is denied as moot.



      IT IS SO ORDERED.



      Dated this 16th day of October, 2015, at Kansas City, Kansas.
Case 2:07-cr-20018-JWL   Document 427   Filed 10/16/15    Page 2 of 2




                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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